 

STATE OF NORTH CAROLINA -_ 20 cvs BAS

 

CLEVELAND County in The General Court Of Justice
° Cl District 6G Superior Court Division

 

 

Name Of Claintitf

GARDNER-WEBB UNIVERSITY

 

 

pores CIVIL SUMMONS

CiO KING LAW OFFICES, PLLC, 113 N. LAFAYETTE STREE

ae Siw Sp “| GJ ALIAS AND PLURIES SUMMONS {ASSESS FEE)
SHELBY NC 28150

 

VERSUS GS. 14-1, Rules 3 and 4
Name Of Defendant(s} Date Crginal Suenmona lssued

PRO FORM SPORTS, LLC and GARY WILSON

 

 

Daie(s} Subsequent Summonsies) issued

 

To Each Of The Defendant(s) Named Below:

 

 

Name And Address Of Defendant 7 Mame And Address Of Defendant 2
PRO FORM SPORTS, LLC GARY WILSON
9113 OLD CHEMONIE RD. 215 SOUTH MONROE STREET
SUITE 320
TALLAHASSEE FL 32308 TALLAHASSEE FL. 32307

 

IMPORTANT! You have been sued! These papers are legal documents, DO NOT throw these papers out!
You have to respond within 30 days. You may want to tafk with a iawyer about your case as soon as
possible, and, if needed, speak with someone who reads English and can translate these papers!
JMPORTANTE! |Se ha entablade un proceso civil en su contral Estos papeles son documentos legales.
INO TIRE estos papeles!

Tiene que contestar a mas tardar en 30 dias. {Puede querer consultar con un abogads to antes posible

acerca de su caso y, de ser necesario, hablar con alguien que lea inglés y que pueda traducir estos
documentos!

 

A Civil Action Has Been Commenced Against You!
You are notified to appear and ariswer the complaint of the olaintiff as follows:

4

i. Serve a copy of your written answer to the complaint upon the plainiiff or plainti’s attamey within thirty (40) days afier you have been
served. You may serve your answer by delivering a copy to the plaintiff or by mailing it to the plaintiff's last known address, and

2. Fie the original of the written answer with the Clerk of Superior Court of the county named above.

Hf you fail to answer the complaint, the plaintiff will apply te the Court for the relief demanded in the complaint.

 

 

 

 

 

 

 

 

 

 

Name And Address Of Pisintil s Altterney (if none. Address Of Mami Bate issued Tne
DELTON W. BARNES vo 8 -gede \ PR Claw em
KING LAW OFFICES, PLLC Signature Lk OX se
113 N. LAFAYETTE STREET fe
SHELBY NC 28150 @bepycsc [7 Assistant C80 07] Clark Of Superior Court
Date Of Encorsament Time
[_] ENDORSEMENT (ASSESS FEE} [lam Clem
This. Summons was originally issued on the date indicated Signature
above and returned not served. Al the request of the plaintiff,
the Ume within which this Summons must be served is
extended sixty (60) days. [] Beputy CSC ["] Assistant CSC L_] Clerk Of Superior Court

 

 

NOTE TO PARTIES: Many counlles have MANDATORY ARBITRATION programs in which most cases where the amount in controversy ig $25,000 or
less are heard by aq arbitrator before a tal. The patties will be notified if this case is assigned for mandatary arbitration, and. if
$0, what proceduye is fo be followed.

(Over)

 

AOC-CV. 100, Rav. 418
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RETURN OF SERVICE

i cerlify that this Surrnons and a copy of the complaint were received and served as follows:

ies ee

 

 

DEFENDANT 4

 

Date Served Tine Served — Name Of Oelendant
law [lem

 

 

 

["] By delivering to the defendant named above a copy of the summons and complaint.

L_! By leaving a copy of the summons and complaint ai the dwelling house or usual place of abode of the defendant named above with a
person of suitable age and discretion then residing therein.

| As the defendant is a corporation, service was effected by delivering a copy of the summons and complaint to the person named
below.

  

 

Name And Address OF Parson Wih Whom Capies Lefl {if comeration. give We of parson copies ieft with)

 

 

(_] Other manner of service (specify)

 

C] Defendant WAS NOT served for the following reason:

Rnova

 

DEFENDANT 2

 

Oate Served Time Served ~— Name Of Defendant
Loam [lem

Leen

 

 

 

(_. By delivering to the defendant named above a capy of the summons and complaint.

f

LJ By leaving a copy of the summons and complaint at the dwelling house or usual place of abode of the defandant named above with a
person of suitable age and discretion then residing therein.

["} As the defendant is a corporation, service was effected by delivering a copy of the summons and complaint io ihe person named
below.

 

Mame And Address Of Person With Whom Copies Left {f camoration, give lille of person copies left with)

 

 

["] Other manner of service (specity)

 

__] Defendant WAS NOT served for the following reason:

Lome

 

 

 

Service Fao Pail Signature Of Deputy Sharif Making Return
$

Dale Reenived Name OF Sheff {type or print}

Date Of Retart County Of Shant

 

 

}

 

AQC-OV-100, Side Two, Rev. 4/48
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